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                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                           CRIMINAL ACTION

VERSUS                                                             NO. 07-352

CRAIG JONES                                                        SECTION "N" (5)

                                ORDER AND REASONS

              Presently before the Court is a motion to vacate filed by Craig Jones pursuant to 28

U.S.C. §2255. See Rec. Doc. 657. Having carefully considered the parties' submissions and

applicable law, IT IS ORDERED that Mr. Jones' motion is DENIED for essentially the reasons set

forth in the Government's comprehensive and well-reasoned opposition memorandum (Rec. Doc.

659).

              New Orleans, Louisiana, this 4th day of June 2014.



                                            _____________________________________
                                                   KURT D. ENGELHARDT
                                                   United States District Judge
